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11   Attorneys for Bardwell Defendants

12
                         IN THE UNITED STATES DISTRICT COURT
13

14                                   DISTRICT OF ARIZONA
15
     Ronald H. Pratte,                                 Case No.: 2:19-cv-00239-PHX-GMS
16
                   Plaintiff,
17
                                                       NOTICE OF FILING DEFENDANTS’
     vs.
18                                                     LETTER REGARDING POTENTIAL
                                                       DISPOSITIVE MOTION
19   Jeffrey Bardwell and Fanny F. Bardwell,
     husband and wife,
20
                   Defendants.
21

22          NOTICE is hereby given that Defendants Jeffrey Bardwell and Fanny F. Bardwell
23
     are filing herewith their letter in this case in compliance with the Order (Dkt. 46) at
24
     Paragraph 7. Included with this Notice is the following:
25

26          1.     Letter of Defendants Jeffrey Bardwell and Fanny F. Bardwell addressing
27
     anticipated dispositive motions.
28
            Following the electronic filing of this Notice, and in compliance with the Order


                                                   1
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1    (Dkt. 46) at Paragraph 7, the parties will be contacting chambers to schedule a time for a
2
     pre-motion conference.
3

4
            Dated this 13th day of November, 2020.

5

6                                              By: /s/ Thomas J. Marlowe
                                               LAW OFFICES OF THOMAS J. MARLOWE
7
                                               6720 N. Scottsdale Road, Suite 305
8                                              Scottsdale, Arizona 85253
                                               Attorney for Defendants
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1                                 CERTIFICATE OF SERVICE
2
            I, Thomas J. Marlowe, hereby certify that on November 13, 2020, I electronically
3

4
     transmitted the foregoing document with the Clerk’s Office using the ECF system for filing

5    and transmittal of a Notice of Electronic Filing to the following ECF registrant(s) in this
6
     case and emailed a copy of this document to the following:
7
     Gregory B. Collins
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     Eric B. Hull
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